Case 3:18-cr-05579-RJB Document 1398 Filed 11/15/21

CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT-APPOINTED COUNSEL

 

Page tort?

LODGED
RECEIVED

November 15, 2021

CLERK U.S. DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT TACOMA

 

1. CIR./DIST./DIV. CODE
0981

2. PERSON REPRESENTED
Karen Suryan

 

BY

 

VOUCHER NUMBER

DEPUTY

 

 

4. DIST. DKT./DEF. NUMBER
3:18-CR-05579-25-RJB

3. MAG. DKT./DEF. NUMBER

 

7. IN CASE/MATTER OF

USA v. Hernandez et al

8. PAYMENT CATEGORY

Other representation required or
authorized by the CJA (including,

(Case Name)

Adult Defendant

[5. APPEALS DKT./DEF. NUMBER

9. TYPE PERSON REPRESENTED

 

6. OTHER DKT. NUMBER

=

10. REPRESENTATION TYPE

Supervised Release Hearing

 

 

11. OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section) Jf more than one offense, list (up to five) major offenses charged, according to severity of offense

21:846=CD.F,21:846=CD.F,21:846=CD.F

 

T2. ATTORNEY'S NAME (First Name, M. 1, Last Name, including any suffix)
AND MAILING ADDRESS
Jennifer E Horwitz - Bar Number: 23695

P.O. Box 70859
Seattle, WA 98127
Phone: 206-799-2797

13. COURT ORDER

Prior Attorney's Name:
Appointment Dates:

 

14. NAME AND MAILING ADDRESS OF LAW FIRM (Only provide per instructions)

Jennifer E Horwitz - TIN: XX-XXXXXXX

P.O. Box 70859
Seattle, WA 98127
Phone: 206-799-2797

name appears in Item 12

Other (See Instructi

O Appointing Counsel
1 F Subs For Federal Defender
(1 P Subs For Panel Attorney

J C Co-Counsel
[7 R Subs For Retained Attorney
oY Standby Counsel

 

Because the above-named person represented has testified under oath or has otherwise
satisfied this Court that he or she (1) is financially unable to employ counsel and (2) does
not wish to waive counsel, and because the interests of justice so require, the attorney whose

Mp st luntad .

Signature off of}Presiding Judgsor By Order of the Court
11/1 sp02t”

11/2/2021

 

appointment.

Date of Order
Repayment or partial repayment ordered from the person represented for this service at time

Nunc Pro Tunc Date

O YES [Xx] NO

 

CLAIM FOR SERVICES AND EXPENSES

|

FOR COURT USE ONLY

 

HOURS

CATEGORIES (Attach itemization of services with dates) CLAIMED

TOTAL
AMOUNT
CLAIMED

MATH/TECH. MATH/TECH.
ADJUSTED ADJUSTED
HOURS AMOUNT

ADDITIONAL
REVIEW

 

a. Arraignment and/or Plea

 

b. Bail and Detention Hearings

 

c. Motion Hearings

 

d, Trial

 

e. Sentencing Hearings

 

f. Revocation Hearings

ymop uy

 

g. Appeals Court

 

h. Other (Specify on additional sheets)

 

[(RATE PER HOUR=$ 0.00) TOTALS

 

a. Interviews and Conferences

=
a

 

b. Obtaining and reviewing records

 

c. Legal research and brief writing

 

d. Travel time

 

e. Investigative and other work (Specify on additional sheets)

 

unog Jomo

(RATE PER HOUR = $ 0.00 ) TOTALS

 

1

ry

Travel Expenses (lodging, parking, meals, mileage, etc)

 

18.

 

Other Expenses (other than expert, transcripts, etc)

 

GRAND TOTALS (CLAIMED AND ADJUSTED)

 

 

 

19. CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE

 

 

D0. APPOINIMENT TERMINATION DATE
IF OTHER THAN CASE COMPLETION

 

DT. CASE DISPOSITION

 

 

FROM: 1/1/1901 TO: 1/1/1901
eicceniomiiladetitaa (Final Payment  [[] Interim Payment Number __O C1 Supplemental Payment § [[] Withholding Payment = (--) (—)
Have you previously applied to the court for compensation and/or reimbursement for this case? Yes oO No If yes, were you paid? Oo Yes oO No

Other than from the Court, have you,or to your knowledge has anyone else, received payment (compensation or anything of value) from any other source in connection with this

representation? oO Yes No If yes, give details on additional sheets
I swear or affirm the truth or correctness of the above statements.

Signature of Attorney

 

Date

 

APPROVED FOR PAYMENT - COURT USE ONLY

 

23. IN COURT COMP.
$0.00

24. OUT OF COURT COMP.
$0.00

25. TRAVEL EXPENSES

$0.00

 

26. OTHER EXPENSES

 

27. TOTAL AMT. APPR./CERT.

$0.00 $0.00

 

28. SIGNATURE OF THE PRESIDING JUDGE

 

IDATE

 

 

29. IN COURT COMP. 30. OUT OF THE COURT COMP.
$0.00 $0.00

BT. TRAVEL EXPENSES

$0.00

2. OTHER EXPENSES

prone

28a. JUDGE CODE

 

 

$0.00

3 TOTAL AMT. APPROVED
$0.00

 

 

 

34 SIGNATURE OF THE CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE)
Payment approved in excess of the statutory threshold amount

 

IDATE

 

34a. JUDGE CODE CERTIFIED AMT.

 

 

 

 

 
